AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                      Nov 05, 2020
                                                                   for the
                                                                                                                                  s/ Daryl Olszewski
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.    20         MJ             215
,QIRUPDWLRQ UHODWHG WR WZR )DFHERRN DFFRXQWV                                 )
                                                                             )
       DVVRFLDWHG ZLWK 'DU\O (GOHEHFN                                        )

    $33/,&$7,21)25$:$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 6HH $WWDFKPHQW $

located in the                                    District of                                           , there is now concealed (identify the
person or describe the property to be seized):
 6HH $WWDFKPHQW %


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        7LWOH  8QLWHG 6WDWHV &RGH             GLVWULEXWLRQ RI FRQWUROOHG VXEVWDQFHV GLVWULEXWLRQ RI FRQWUROOHG VXEVWDQFHV YLD WKH
        6HFWLRQV  HW VHT              LQWHUQHW LQWURGXFWLRQ DQG UHFHLSW RI PLVEUDQGHG GUXJV DQGRU IRRG PLVEUDQGLQJ
                                               GUXJV DQGRU IRRG
          The application is based on these facts:
        6HH WKH DWWDFKHG DIILGDYLW

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                         ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                                    'LJLWDOO\VLJQHGE\6&2776,0216 $IILOLDWH 
                                                                              6&2776,0216 $IILOLDWH               'DWH 

                                                                                                       Applicant’s signature

                                                                                                   '($ 7)2 6FRWW 6LPRQV
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      WHOHSKRQH                       (specify reliable electr
                                                                        electronic
                                                                            t on
                                                                            tr nic
                                                                                 ic m eans).
                                                                                    means)


Date:       November 5, 2020
                                                                                                         Judge’s sign
                                                                                                                 signature
                                                                                                                    naattu
                                                                                                                        tuurre

City and state:       Milwaukee, WI                        +RQ :LOOLDP ( 'XIILQ 86 0DJLVWUDWH -XGJH
                      Case 2:20-mj-00215-WED Filed 11/05/20 Page 1 ofPrinted
                                                                         33 name    and title
                                                                               Document       1
                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

                                  Matter No. 2020R00261

      I, Scott Simons, being first duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

      1.        I make this affidavit in support of an application for a search warrant for

information associated with certain Facebook user IDs that is stored at premises owned,

maintained, controlled, or operated by Facebook Inc. (Facebook), a social networking

company headquartered in Menlo Park, California. The information to be searched is

described in the following paragraphs and in Attachment A. This affidavit is made in

support of an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A),

and 2703(c)(1)(A), to require Facebook to disclose to the government records and other

information in its possession, pertaining to the subscriber or customer associated with

the user IDs.

      2.        I am a Task Force Officer assigned to the Milwaukee Office of the Drug

Enforcement Administration (DEA) as a member of the Tactical Diversion Squad (TDS),

specializing in pharmaceutical investigations. I have worked full-time as a DEA Task

Force Officer for the past 7 years and a full-time law enforcement officer with the

Greenfield Police Department for the past 18 years.

      3.        During my tenure as a DEA Task Force Officer and a Greenfield Police

Department law enforcement officer, I have been involved in the investigation of

narcotics traffickers operating not only in the County of Milwaukee and the State of




        Case 2:20-mj-00215-WED Filed 11/05/20 Page 2 of 33 Document 1
Wisconsin, but also other states throughout the United States and various other

countries. I have received training in the investigation of drug trafficking and computer

related crimes. I have worked with informants in the investigations of drug trafficking

in the Milwaukee area as well as other jurisdictions within the State of Wisconsin,

throughout the United States, and other countries.         I have participated in the

application for and execution of numerous search warrants. I have participated directly

in numerous narcotics investigations and arrests in which controlled substances and

drug paraphernalia were seized. I am familiar with methods that are commonly used

by drug dealers to package and prepare controlled substances for sale in various areas.

      4.     Based on my training, experience, and participation in drug trafficking

and computer related investigations, I know and have observed the following:

        a.   I have learned about the manner in which individuals and organizations
distribute controlled substances in Wisconsin as well as in other areas of the United
States;

       b.    I am familiar with the coded language utilized over the telephone and
 other electronic communications to discuss drug trafficking and know that the
 language is often limited, guarded and coded. I also know the various code names
 used to describe controlled substances;

       c.    I know drug dealers often put telephones in the names of others
 (nominees) in order to distance themselves from telephones that they use to facilitate
 drug distribution. Because drug traffickers go through many telephone numbers, they
 often do not pay final bills when they are done using a telephone number and then are
 unable to put another line in the name of that subscriber;

       d.     I know drug traffickers often purchase and/or title assets in fictitious
 names, aliases or the names of relatives, associates or business entities to avoid
 detection of these assets by government agencies. I know that even though these assets

                                           2



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 3 of 33 Document 1
 are in the names other than the drug traffickers, the drug traffickers actually own and
 continue to use these assets and exercise dominion and control over them;

      e.      I know drug traffickers must maintain on-hand large amounts of U.S.
 currency, to include monies stored in financial accounts readily accessible in order to
 maintain and finance their ongoing drug business;

        f.    I know it is common for drug traffickers to maintain books, records,
 receipts, notes ledgers, airline tickets, and receipts relating to the purchase of financial
 instruments and/or the transfer of funds and other papers relating to the
 transportation, ordering, sale and distribution of controlled substances. The
 aforementioned book, records, receipts, notes, ledger, etc., are maintained where the
 traffickers have ready access to them. These may be in paper form as well as in digital
 form on computers, Smartphones, cellphones, and other electronic media or electronic
 storage devices;

       g.    I know it is common for large-scale drug traffickers to secrete contraband,
 proceeds of drug sales and records of drug transactions in secure locations within their
 residences, their businesses and/or other locations over which they maintain
 dominion and control, for ready access and to conceal these items from law
 enforcement authorities;

        h.    I know it is common for persons involved in drug trafficking to maintain
evidence pertaining to their obtaining, secreting, transfer, concealment and/or
expenditure of drug proceeds, such as currency, financial instruments, precious metals
and gemstones, jewelry, books, records of real estate transactions, bank statements and
records, money drafts, letters of credit, money orders, passbooks, letters of credit, bank
drafts, cashier’s checks, bank checks, safe deposit box keys and money wrappers. These
items are maintained by the traffickers within residences, businesses or other locations
over which they maintain dominion and control, as well as in digital form on
computers, Smartphones, cellphones, and other electronic media or electronic storage
devices;

       i.     I know large-scale drug traffickers often use electronic equipment such as
telephones (land-lines and cell phones), pagers, computers, telex machines, facsimile
machines, currency counting machines and telephone answering machines to generate,
transfer, count, record and/or store the information described in the items above, as
well as conduct drug trafficking activities;

                                             3



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 4 of 33 Document 1
        j.     I know when drug traffickers amass large proceeds from the sale of drugs,
the drug traffickers attempt to legitimize these profits through money laundering
activities. To accomplish these goals, drug traffickers utilize the following methods,
including, but not limited to: domestic and international banks and their attendant
services, securities brokers, professionals such as attorneys and accountants, casinos,
real estate, shell corporations and business fronts and otherwise legitimate businesses
which generate large quantities of currency;

      k.      I know drug traffickers commonly maintain addresses or telephone
numbers which reflect names, addresses and/or telephone numbers of their associates
in the trafficking organization in papers and books as well as in digital form on
computers, Smartphones, cellphones, and other electronic media or electronic storage
devices;

      l.     I know drug traffickers take or cause to be taken photographs or videos of
themselves; their associates, their property and their drugs. These traffickers usually
maintain these photographs or videos in their possession, often in digital form on
computers, Smartphones, cellphones, and other electronic media or electronic storage
devices;

       m.     I am familiar with computers, cellular telephones, Smartphones, pagers
 and their uses by drug traffickers to communicate with suppliers, customers, and
 fellow traffickers; Drug traffickers use these devices to record their transactions and
 aspects of their lifestyle related to drug dealing, whether in the form of voicemail,
 email, text messages, video and audio clips, floppy disks, hard disk drives, thumbnail
 drives, CD’s, DVD’s, optical disks, Zip disks, flash memory cards, Smart media and
 any data contained within such computers or cellular telephones, electronic storage
 media and other settings particular to such devices; I know that such devices
 automatically record aspects of such communications, such as lists of calls and
 communications, and any particularized identification assigned to those source
 numbers or email addresses by the owner of the devices;

       n.    I know the following information can be retrieved to show evidence of use
 of a computer or Smartphone to further the drug trade: system components, input
 devices, output devices, data storage devices, data transmission devices, and network
 devices and any data contained within such systems; computer media and any data
 contained within such media; operating system software, application or access
 program disks, manuals, books, brochures, or notes, computer access codes, user

                                           4



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 5 of 33 Document 1
 names, log files, configuration files, passwords, screen names, email addresses, IP
 addresses, and SIM cards.

       5.    The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

       6.    Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that DARYL EDLEBECK and others have

committed, and continue to commit, violations of violations of: (i) Title 21, United States

Code, Sections 829(e) and 841(a)(1) (Distribution of Controlled Substances); (ii) Title 21,

United States Code, Sections 841(h) and 843(c)(2)(A) (Offenses involving distribution of

Controlled Substances by means of the Internet); (iii) Title 21, United States Code,

Sections 331(a) and 333(a)(1)/(2) (introduction of misbranded drugs and/or foods into

interstate commerce); (iv) Title 21, United States Code, Sections 331(c) and 333(a)(1)/(2)

(receipt of misbranded drugs and/or foods in interstate commerce, and delivery thereof

for pay or otherwise); and (v) Title 21, United States Code, Sections 331(k) and

333(a)(1)/(2) (doing an act to a drug and/or food after shipment in interstate commerce

and while held for sale that results in the article being misbranded). There is also

probable cause to search the information described in Attachment A for fruits, evidence

and instrumentalities of these crimes, as further described in Attachment B.

                  IDENTIFICATION OF ITEMS TO BE SEARCHED



                                            5



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 6 of 33 Document 1
       7.      The information to be searched concerns the Facebook pages belonging to

Mass Labs - ID #674111559308838 and New Heights Supplements - ID

#529165487123045, herein described as personal websites that are accessed with a

username and password specific only to that page and further described in Attachment

A.   The applied-for warrant would authorize the search and recovery of evidence

particularly described in Attachment B.

                                     JURISDICTION

       8.      This Court has jurisdiction to issue the requested warrant because it is “a

court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),

(b)(1)(A) & (c)(1)(A). Specifically, this Court is a district court of the United States that

“has jurisdiction over the offense[s] being investigated.” 18 U.S.C. § 2711(3)(A)(i).

Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required

for the service or execution of this warrant.

                                        THE FDCA

FDA’s Regulation of Drugs

       9.      The United States Food and Drug Administration (FDA) is the federal

agency responsible for protecting the public health and safety of the American public

by enforcing the Food, Drug, and Cosmetic Act (FDCA). Among the purposes of the

FDCA is to ensure, among other things, that drugs sold for human use are safe and

effective for their intended uses, and bear labeling containing true and accurate

information.     FDA’s responsibilities under the FDCA include regulating the


                                                6



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 7 of 33 Document 1
manufacture, labeling, and distribution of drugs that are shipped or received in

interstate commerce.

       10.      The FDCA defines a "drug" to include "articles intended for use in the

diagnosis, cure, mitigation, treatment, or prevention of disease in man," and "articles . . .

intended to affect the structure or any function of the body of man." 21 U.S.C. §

321(g)(1)(B) and (C).

       11.      Under the FDCA, a drug is deemed to be misbranded if, among other

things, its labeling is false or misleading in any particular. 21 U.S.C. § 352(a).

       12.      “Labeling” is defined under the FDCA as “all labels and other written,

printed, or graphic matter (1) upon any article or any of its containers or wrappers, or

(2) accompanying such article.” 21 U.S.C. § 321(m). In turn, the term “label” includes

“written, printed, or graphic matter upon the immediate container of any article.” Id. at

§ 321(k).

       13.      Under the FDCA, “prescription drugs” include drugs that, because of

their toxicity and other potential for harmful effects, are not safe for use except under

the supervision of a practitioner licensed by law to administer such drugs. 21 U.S.C. §

353(b)(l)(A).

       14.      Under the FDCA, dispensing a prescription drug without a valid

prescription of a licensed practitioner is deemed to be an act that misbrands the drug

while held for sale. 21 U.S.C. § 353(b)(1).

FDA’s Regulation of Dietary Supplements


                                              7



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 8 of 33 Document 1
       15.      The FDCA defines “dietary supplement” to include “a product (other than

tobacco) intended to supplement the diet that bears or contains one or more of the

following dietary ingredients. . . (A) a vitamin; (B) a mineral; (C) an herb or other

botanical; (D) an amino acid; (E) a dietary substance for use by man to supplement the

diet by increasing the total dietary intake; or (F) a concentrate, metabolite, constituent,

extract, or combination of any ingredient described in clause (A), (B), (C), (D), or (E).”

21 U.S.C. § 321(ff)(1). Additionally, to be a “dietary supplement” under the FDCA, the

product must be intended for ingestion, not be represented for use as a conventional

food or as a sole item of a meal or the diet, and be labeled as a dietary supplement. 21

U.S.C. § 321(ff)(2).

       16.      With limited exceptions, a dietary supplement is deemed to be a food

under the FDCA. 21 U.S.C. § 321(ff)(3). In turn, the FDCA defines “food” to include

articles used for food or drink for man or other animals and articles used for

components of such articles. 21 U.S.C. § 321(f).

       17.      A food, including a dietary supplement, is misbranded if its labeling is

false or misleading in any particular. 21 U.S.C. § 343(a)(1).

       18.      A product cannot be a “dietary supplement” under the FDCA, however, if

it contains:

             a. the active pharmaceutical ingredient (API) of an FDA-approved drug, 21

                U.S.C. § 321(ff)(3)(B)(i); and/or




                                               8



         Case 2:20-mj-00215-WED Filed 11/05/20 Page 9 of 33 Document 1
             b. the API of a new drug that FDA has authorized for investigation and for

                which substantial clinical investigations have been instituted and for

                which the existence of such investigations has been made public, 21 U.S.C.

                § 321(ff)(3)(B)(ii).

       19.      A dietary supplement also is deemed to be adulterated if, (1) it contains a

dietary ingredient that presents a significant or unreasonable risk of illness or injury

under the conditions of use recommended or suggested in its labeling, 21 U.S.C. §

342(f)(1)(A)(i),; or (2) it contains a new dietary ingredient for which there is inadequate

information to provide reasonable assurance that such ingredient does not present a

significant or unreasonable risk of illness or injury, 21 U.S.C. § 342(f)(1)(B).

       20.      Under 21 U.S.C. § 350b, a dietary supplement that contains a new dietary

ingredient (one not marketed in the United States before October 14, 1994) is deemed to

be adulterated under 21 U.S.C. § 342(f) unless, (1) the dietary supplement contains only

dietary ingredients that have been present in the food supply as an article used for food

in a form in which the food has not been chemically altered, or (2) there is a history or

use or other evidence of safety establishing that the dietary ingredient will reasonably

be expected to be safe and, at least 75 days before introducing the dietary supplement in

interstate commerce, the manufacture or distributor provides FDA with

information which is the basis for its conclusion that the dietary supplement containing

the new dietary ingredient will reasonably be expected to be safe (“premarket

notification”). 21 U.S.C. § 350b.

FDCA Prohibited Conduct and Penalties



                                              9



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 10 of 33 Document 1
       21.      The FDCA prohibits, among other things, the doing or causing of the

following acts:

             a. The introduction or delivery for introduction into interstate commerce any

                food or drug that is adulterated or misbranded, 21 U.S.C. § 331(a);

             b. Receiving a misbranded drug or food in interstate commerce, and

                delivering or proffering delivery thereof for pay or otherwise, 21 U.S.C. §

                331(c); and

             c. The doing of any act with respect to a food or drug if such act is done

                while such article is held for sale (“whether or not the first sale”) after

                shipment in interstate commerce and results in such article being

                adulterated or misbranded, 21 U.S.C. § 331(k).

       22.      The FDCA defines interstate commerce as "(1) commerce between any

State or Territory and any place outside thereof, and (2) commerce within the District of

Columbia or within any other territory not organized with a legislative body." 21 U.S.C.

§ 321(b).




                                             10



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 11 of 33 Document 1
      23.    Any person who commits a prohibited act under the FDCA commits a

misdemeanor, regardless of any mens rea, punishable by a maximum of imprisonment

for one year. 21 U.S.C. § 333(a)(1). If committed with the intent to defraud or mislead

consumers and/or a governmental agency, the violation constitutes a felony and is

punishable by up to three years imprisonment. 21 U.S.C. § 333(a)(2).

                    FACTS ESTABLISHING PROBABLE CAUSE

      24.    In March of 2020, the Milwaukee District Office of the DEA initiated an

investigation into the businesses New Heights Supplements and Mass Labs, to include

their websites (www.nhsupps.com and www.mass-labs.com), which are owned by

DARYL EDLEBECK. It was brought to the attention of DEA that DARYL EDLEBECK

was potentially selling controlled substances (steroids) and other products labeled as

dietary supplements, which in fact that consisted of substances that cannot lawfully be

contained in dietary supplements. DARYL EDLEBECK owns four brick-and-mortar

dietary supplement stores (in Waukesha, Hales Corners, Greenfield, and Racine), which

are referred to collectively as New Heights Supplements. DARYL EDLEBECK also

owns his own manufacturing company, Mass Labs, and his affiliated website sells only

Mass Labs dietary supplement products.         DARYL EDLEBECK sells Mass Labs

products, as well as products produced by other manufacturers, in his New Heights

Supplements brick-and-mortar stores and on the New Heights Supplements website.

      25.    In March of 2020, a citizen witness, hereinafter referred to as P.B., spoke

with DEA Milwaukee District Office case agents in person. The statements from P.B. to


                                          11



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 12 of 33 Document 1
the DEA case agents led to this investigation being initiated. P.B. reported that in

October 2016, P.B. purchased a dietary supplement directly from DARYL EDLEBECK at

the New Heights Supplements store located in Hales Corners, Wisconsin. DARYL

EDLEBECK said the product would help P.B. gain muscle and burn fat. P.B. began

using this product shortly thereafter, but in December 2016 or January 2017, P.B. began

experiencing muscle aches, headaches, heart problems, and an overall feeling of being

ill. P.B. spoke with DARYL EDLEBECK about this product and his medical ailments.

DARYL EDLEBECK said this product was a prohormone, and DEA case agents know,

from their training and experience, that many products marketed as “prohormones”

have been found to contain schedule III anabolic steroids when tested. DARYL

EDLEBECK told P.B. some side effects from his product are hair loss and testicular

problems, which DEA case agents know are also side effects of steroid use.

      26.    P.B. has since been seeking medical treatment from specialists throughout

the United States. In May 2019, P.B. provided five to six of the remaining capsules from

the purported dietary supplement product he purchased from DARYL EDLEBECK to a

private laboratory (ARCpoint Labs located in Brookfield, Wisconsin), and the

laboratory’s analysis identified the substance in the capsules as “Boldenone (Steroid).”

DEA case agents know that boldenone is a schedule III controlled substance.

      27.    P.B. turned over the original bottle, containing thirty-four capsules, to

DEA case agents. This product was named “Reaper,” and its label stated it was a

dietary supplement. The label also stated the product was manufactured by Mass Labs

                                          12



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 13 of 33 Document 1
(www.mass-labs.com), and suggested the company has a Facebook account. The label

stated that statements on the label were not evaluated by the FDA.

       28.    DEA case agents submitted the “Reaper” capsules to the Wisconsin State

Crime Laboratory for analysis. The laboratory’s initial screening test indicated the

presence of methasterone (a schedule III controlled substance – steroid) and Androsta-

3,5-diene-7,17-dione (also known as “Arimistane”) (a substance that is not considered a

dietary ingredient under the FDCA). This drug exhibit has been turned over to the

FDA for further analysis, and these results are pending. The DEA and FDA are now

jointly conducting this investigation.

       29.    DEA case agents reviewed the Mass Labs website. This website identifies

the Mass Labs founder as DARYL EDLEBECK, who reportedly began his career in the

dietary supplements industry in 2016. The Mass Labs phone number provided on the

website is (414) 425-2605. DEA case agents checked law enforcement and open source

databases and found this phone number is also the phone number for the New Heights

Supplements store located in Hales Corners.      DEA case agents, in an undercover

capacity, made telephone contact with the New Heights Supplements store in

Greenfield, and the employee stated the stores were owned by “Daryl.”

       30.    On May 7, 2020, undercover DEA case agents conducted a controlled buy

from the New Heights Supplements store located in Hales Corners. The undercover

agent interacted directly with DARYL EDLEBECK, who was identified based on

viewing a known photograph of DARYL EDLEBECK. DARYL EDLEBECK sold the

                                          13



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 14 of 33 Document 1
undercover agent several products intended to help the undercover “gain muscle.”

One product in particular was named “Superdrol,” which was manufactured by a

company named Anabolic Research. DEA case agents are aware Superdrol is another

term for methasterone (a schedule III controlled substance). When asked how these

products compare to steroids, DARYL EDLEBECK said they are the same concept.

DARYL EDLEBECK also sold the undercover agent a product named “On Cycle,”

which is taken during a steroid or prohormone cycle to aid liver support, prostate

support, cholesterol, and blood pressure, to help ameliorate the toll steroids and

prohormones have on the human body.

      31.    During this purchase, DARYL EDLEBECK pointed to the Superdrol

product and told the undercover agent that this manufacturing company is “edgier.”

DARYL EDLEBECK also said that he used to have the same product made for him with

a slightly different compound, but the person who previously made the product for him

received a letter from the FDA ordering the product no longer be made or there would

be ramifications. DARYL EDLEBECK explained that he formulates his own products,

but he sends his formula off to be mixed because he does not have the necessary

equipment.   DARYL EDLEBECK stated he used to have a product called “Methyl

Mass” produced for him, but the person who made it “had more eyes on him” so that

person “started playing by the rules.”

      32.    DEA case agents submitted these purchased products to the DEA

Laboratory for analysis. The Superdrol product tested positive for the presence of

                                         14



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 15 of 33 Document 1
methasterone (a schedule III controlled substance). The other products did not test

positive for a controlled substance.

       33.      DEA case agents located and reviewed a Facebook page belonging to

“Mass Labs” – ID #674111559308838. This Facebook page shows various Mass Labs

products for sale and advertises sale prices. DEA case agents noted a post on this

Facebook page dated August 27, 2016. This post consisted of a photograph of three

dietary supplement products for sale. One product was “Reaper,” which is the product

P.B. turned over to DEA case agents and is suspected to contain a schedule III

controlled substance. The second product was called “Methyl Mass,” which is the

product DARYL EDLEBECK said his “mixer” stopped producing because the “mixer”

started “playing by the rules.” The product label on the “Methyl Mass” bottle states it

is a dietary supplement and lists ingredients of methylstenbolone and DMZ (also

known as “Dymethazine”). Methylstenbolone and DMZ have been described by the

FDA in a Warning Letter as being “synthetic steroids [which] do not constitute dietary

ingredients.”          (https://www.fda.gov/inspections-compliance-enforcement-and-

criminal-investigations/warning-letters/hardcore-formulations-522783-06052017). The

third product depicted on the Facebook page was called “Trestone.” This Facebook

page advertises the Mass Labs website, www.mass-labs.com, and references the phone

number for New Heights Supplements in Hales Corners.

       34.      DEA case agents also located and reviewed a Facebook page belonging to

“New Heights Supplements” – ID #529165487123045.           This Facebook page shows

                                           15



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 16 of 33 Document 1
various products labeled as dietary supplements for sale and advertises sale prices. It

has up-to-date posts and photographs that cover topics such as new products, when

they opened their newest store location in Waukesha, which employee is in charge of

various applications, and photographs of customers and the products on the shelves

inside the store. Some of these photographs depict the Superdrol product, which is

suspected to contain methasterone (a schedule III controlled substance). A post dated

April 25, 2018, showed “Methyl Mass,” “Trestone,” and other products labeled as

dietary supplements. Additionally, a post dated August 8, 2017, includes a photograph

of DARYL EDLEBECK and other employees, and a post dated December 26, 2016,

consists of a photograph showing “Reaper” (same product purchased by P.B. and

turned over to DEA case agents) and “Methyl Mass.” The Facebook page advertises the

New Heights Supplements website, www.nhsupps.com, and the phone number for the

Hales Corners location.

      35.    On June 15, 2020, an undercover DEA case agent entered New Heights

Supplements located in Waukesha and observed multiple bottles of the Superdrol

product displayed on a shelf, which is suspected of containing methasterone.

      36.    On July 20, 2020, an undercover DEA case agent entered New Heights

Supplements located in Racine and observed multiple bottles of the Superdrol product

displayed on a shelf, which is suspected of containing methasterone.

      37.    On July 22, 2020, FDA case agents conducted an online controlled buy

from the Mass Labs website, www.mass-labs.com, and purchased one bottle of “Slim-

                                          16



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 17 of 33 Document 1
A-Drex Extreme.” The product label stated it was a “dietary supplement” and listed 2-

aminoisoheptamine (suspected to be an alternate name for a compound known as

DMHA) as an ingredient, which FDA has publicly stated cannot lawfully be marketed

as a dietary supplement.    According to FDA.gov, DMHA is considered an unsafe

dietary ingredient in dietary supplements. The FDA’s Center for Food Safety and

Applied Nutrition has issued several Warning Letters to companies selling dietary

supplements        containing      DMHA          as      a      dietary       ingredient

(https://www.fda.gov/food/dietary-supplement-products-ingredients/dmha-dietary-

supplements). The return address on the parcel that contained this product was “Mass

Labs 5300 South 108th St., STE 3, Hales Corners, WI 53130-1368,” which is the address of

New Heights Supplements in Hales Corners. DEA case agents received records from

the U.S. Postal Inspections Service, which confirmed this parcel was shipped from the

Hales Corners Post Office and was delivered to the undercover FDA case agents. This

product has been sent to the FDA laboratory for analysis, and the results are pending.

      38.     On July 24, 2020, a DEA undercover case agent conducted a controlled

purchase directly from DARYL EDLEBECK at the Hales Corners location.                The

undercover agent purchased multiple products. One product was the same Superdrol

product that is suspected to contain methasterone. A second product was “M-Sten,”

which is advertised to contain methylstenbolone (an ingredient that FDA has publicly

stated cannot lawfully be marketed in dietary supplements), and DARYL EDLEBECK

also verbally told the undercover agent that it contains methylstenbolone. A third

                                           17



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 18 of 33 Document 1
product purchased was named “On Cycle.” These products have all been sent to the

DEA and FDA laboratories for analysis. The Superdrol product tested positive for the

presence of methasterone (a schedule III controlled substance), and the remaining

results are pending.

       39.    On August 4, 2020, an undercover DEA case agent conducted a controlled

purchase directly from DARYL EDLEBECK at the Hales Corners location.                    The

undercover agent purchased the same previously referenced Superdrol product, which

is suspected to contain methasterone. The undercover agent had a conversation with

DARYL EDLEBECK in which DARYL EDLEBECK said that Superdrol and

methasterone are the same substance. DARYL EDLEBECK told the undercover agent

that the undercover agent would not test positive for the presence of any drugs

pursuant to a standard drug test conducted by an employer, but the undercover agent

would test positive in a performance enhancing drug test. This product was sent to the

DEA laboratory for analysis and tested positive for the presence of methasterone (a

schedule III controlled substance).

       40.    Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that the Facebook pages belonging to Mass

Labs - ID #674111559308838 and New Heights Supplements - ID #529165487123045,

used by DARYL EDLEBECK (W/M DOB: 09-13-1983), contain evidence of crimes

committed in violation of: : (i) Title 21, United States Code, Sections 829(e) and 841(a)(1)

(Distribution of Controlled Substances); (ii) Title 21, United States Code, Sections 841(h)

                                             18



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 19 of 33 Document 1
and 843(c)(2)(A) (Offenses involving distribution of Controlled Substances by means of

the Internet); (iii) Title 21, United States Code, Sections 331(a) and 333(a)(1)/(2)

(introduction of misbranded drugs and/or foods into interstate commerce); (iv) Title 21,

United States Code, Sections 331(c) and 333(a)(1)/(2) (receipt of misbranded drugs

and/or foods in interstate commerce, and delivery thereof for pay or otherwise); and (v)

Title 21, United States Code, Sections 331(k) and 333(a)(1)/(2) (doing an act to a drug

and/or food after shipment in interstate commerce and while held for sale that results

in the article being misbranded).

                     BACKGROUND CONCERNING FACEBOOK

       41.    Facebook owns and operates a free-access social networking website of

the same name that can be accessed at http://www.facebook.com. Facebook allows its

users to establish accounts with Facebook, and users can then use their accounts to

share written news, photographs, videos, and other information with other Facebook

users, and sometimes with the general public.

       42.    Facebook asks users to provide basic contact and personal identifying

information to Facebook, either during the registration process or thereafter.         This

information may include the user’s full name, birth date, gender, contact e-mail

addresses, Facebook passwords, Facebook security questions and answers (for

password retrieval), physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers. Facebook also assigns

a user identification number to each account.


                                             19



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 20 of 33 Document 1
      43.    Facebook users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Facebook

assigns a group identification number to each group. A Facebook user can also connect

directly with individual Facebook users by sending each user a “Friend Request.” If the

recipient of a “Friend Request” accepts the request, then the two users will become

“Friends” for purposes of Facebook and can exchange communications or view

information about each other. Each Facebook user’s account includes a list of that

user’s “Friends” and a “News Feed,” which highlights information about the user’s

“Friends,” such as profile changes, upcoming events, and birthdays.

      44.    Facebook    users   can   select   different   levels   of   privacy   for   the

communications and information associated with their Facebook accounts.                   By

adjusting these privacy settings, a Facebook user can make information available only

to himself or herself, to particular Facebook users, or to anyone with access to the

Internet, including people who are not Facebook users. A Facebook user can also create

“lists” of Facebook friends to facilitate the application of these privacy settings.

Facebook accounts also include other account settings that users can adjust to control,

for example, the types of notifications they receive from Facebook.

      45.    Facebook users can create profiles that include photographs, lists of

personal interests, and other information.      Facebook users can also post “status”

updates about their whereabouts and actions, as well as links to videos, photographs,

articles, and other items available elsewhere on the Internet. Facebook users can also

                                           20



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 21 of 33 Document 1
post information about upcoming “events,” such as social occasions, by listing the

event’s time, location, host, and guest list. In addition, Facebook users can “check in” to

particular locations or add their geographic locations to their Facebook posts, thereby

revealing their geographic locations at particular dates and times. A particular user’s

profile page also includes a “Wall,” which is a space where the user and his or her

“Friends” can post messages, attachments, and links that will typically be visible to

anyone who can view the user’s profile.

       46.    Facebook allows users to upload photos and videos, which may include

any metadata such as location that the user transmitted when s/he uploaded the photo

or video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a

photo or video. When a user is tagged in a photo or video, he or she receives a

notification of the tag and a link to see the photo or video. For Facebook’s purposes, the

photos and videos associated with a user’s account will include all photos and videos

uploaded by that user that have not been deleted, as well as all photos and videos

uploaded by any user that have that user tagged in them.

       47.    Facebook users can exchange private messages on Facebook with other

users. These messages, which are similar to e-mail messages, are sent to the recipient’s

“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well

as other information. Facebook users can also post comments on the Facebook profiles

of other users or on their own profiles; such comments are typically associated with a

specific posting or item on the profile. In addition, Facebook has a Chat feature that

                                             21



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 22 of 33 Document 1
allows users to send and receive instant messages through Facebook.           These chat

communications are stored in the chat history for the account. Facebook also has a

Video Calling feature, and although Facebook does not record the calls themselves, it

does keep records of the date of each call.

       48.    If a Facebook user does not want to interact with another user on

Facebook, the first user can “block” the second user from seeing his or her account.

       49.    Facebook has a “like” feature that allows users to give positive feedback

or connect to particular pages. Facebook users can “like” Facebook posts or updates, as

well as webpages or content on third-party (i.e., non-Facebook) websites. Facebook

users can also become “fans” of particular Facebook pages.

       50.    Facebook has a search function that enables its users to search Facebook

for keywords, usernames, or pages, among other things.

       51.    Each Facebook account has an activity log, which is a list of the user’s

posts and other Facebook activities from the inception of the account to the present.

The activity log includes stories and photos that the user has been tagged in, as well as

connections made through the account, such as “liking” a Facebook page or adding

someone as a friend. The activity log is visible to the user but cannot be viewed by

people who visit the user’s Facebook page.

       52.    Facebook Notes is a blogging feature available to Facebook users, and it

enables users to write and post notes or personal web logs (“blogs”), or to import their

blogs from other services, such as Xanga, LiveJournal, and Blogger.

                                              22



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 23 of 33 Document 1
       53.     The Facebook Gifts feature allows users to send virtual “gifts” to their

friends that appear as icons on the recipient’s profile page.         Gifts cost money to

purchase, and a personalized message can be attached to each gift. Facebook users can

also send each other “pokes,” which are free and simply result in a notification to the

recipient that he or she has been “poked” by the sender.

       54.     Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the

Marketplace.

       55.     Facebook further maintains a functionality it refers to as “Stories,”

whereby users can post photos and videos using Facebook’s “in app” camera,

frequently utilizing filters and additional text. After a user “posts” a “Story,” the

“Story” will be available to their “friends” for a 24-hour period, appearing at the top of

their “News Feed” in the application.

       56.     In addition to the applications described above, Facebook also provides its

users with access to thousands of other applications (“apps”) on the Facebook platform.

When a Facebook user accesses or uses one of these applications, an update about that

the user’s access or use of that application may appear on the user’s profile page.

       57.     Some Facebook pages are affiliated with groups of users, rather than one

individual user.     Membership in the group is monitored and regulated by the

administrator or head of the group, who can invite new members and reject or accept

requests by users to enter. Facebook can identify all users who are currently registered

                                             23



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 24 of 33 Document 1
to a particular group and can identify the administrator and/or creator of the group.

Facebook uses the term “Group Contact Info” to describe the contact information for

the group’s creator and/or administrator, as well as a PDF of the current status of the

group profile page.

          58.   Facebook uses the term “Neoprint” to describe an expanded view of a

given user profile.      The “Neoprint” for a given user can include the following

information from the user’s profile:           profile contact information; News Feed

information; status updates; links to videos, photographs, articles, and other items;

Notes; Wall postings; friend lists, including the friends’ Facebook user identification

numbers; groups and networks of which the user is a member, including the groups’

Facebook group identification numbers; future and past event postings; rejected

“Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications.

          59.   Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP

address. These logs may contain information about the actions taken by the user ID or

IP address on Facebook, including information about the type of action, the date and

time of the action, and the user ID and IP address associated with the action. For

example, if a user views a Facebook profile, that user’s IP log would reflect the fact that

the user viewed the profile, and would show when and from what IP address the user

did so.




                                              24



           Case 2:20-mj-00215-WED Filed 11/05/20 Page 25 of 33 Document 1
      60.    Social networking providers like Facebook typically retain additional

information about their users’ accounts, such as information about the length of service

(including start date), the types of service utilized, and the means and source of any

payments associated with the service (including any credit card or bank account

number). In some cases, Facebook users may communicate directly with Facebook

about issues relating to their accounts, such as technical problems, billing inquiries, or

complaints from other users. Social networking providers like Facebook typically retain

records about such communications, including records of contacts between the user and

the provider’s support services, as well as records of any actions taken by the provider

or user as a result of the communications.

      61.    As explained herein, information stored in connection with a Facebook

account may provide crucial evidence of the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion.

In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic

communications, and other data retained by Facebook, can indicate who has used or

controlled the Facebook account. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a residence. For

example, profile contact information, private messaging logs, status updates, and

tagged photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Facebook account at a relevant time. Further,

                                             25



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 26 of 33 Document 1
Facebook account activity can show how and when the account was accessed or used.

For example, as described herein, Facebook logs the Internet Protocol (IP) addresses

from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can

understand the chronological and geographic context of the account access and use

relating to the crime under investigation. Such information allows investigators to

understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, Facebook builds geo-

location into some of its services. Geo-location allows, for example, users to “tag” their

location in posts and Facebook “friends” to locate each other. This geographic and

timeline information may tend to either inculpate or exculpate the Facebook account

owner. Last, Facebook account activity may provide relevant insight into the Facebook

account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Facebook account may indicate the owner’s motive and

intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

      62.    Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information

concerning subscribers and their use of Facebook, such as account access information,

transaction information, and other account information.

                                           26



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 27 of 33 Document 1
        INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

      63.    I anticipate executing this warrant under the Electronic Communications

Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A), by using

the warrant to require Facebook to disclose to the government copies of the records and

other information (including the content of communications) particularly described in

Section I of Attachment B. Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B.

                                     CONCLUSION

      64.    Based on the forgoing, I request that the Court issue the proposed search

warrant. Because the warrant will be served on Facebook who will then compile the

requested records at a time convenient to it, there exists reasonable cause to permit the

execution of the requested warrant at any time in the day or night.




                                            27



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 28 of 33 Document 1
                                 ATTACHMENT A

                               Matter No. 2020R00261


      This warrant applies to information generated from January 1, 2016 to the

present date associated with DARYL EDLEBECK’s Facebook pages, Mass Labs - ID

#674111559308838 and New Heights Supplements - ID #529165487123045, which are

stored at premises owned, maintained, controlled, or operated by Facebook, a company

headquartered in Menlo Park, California.




       Case 2:20-mj-00215-WED Filed 11/05/20 Page 29 of 33 Document 1
                                  ATTACHMENT B

                            Particular Things to be Seized

I.    Information to be disclosed by Facebook

      To the extent that the information described below is within the possession,

custody, or control of Facebook, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to

disclose the following information to the government for each user ID listed in

Attachment A:

      a.     All contact and personal identifying information, including: full name,

             user identification number, birth date, gender, contact e-mail addresses,

             Facebook passwords, Facebook security questions and answers, physical

             address (including city, state, and zip code), telephone numbers, screen

             names, websites, and other personal identifiers.

      b.     All activity logs and all other documents showing the user’s posts and

             other Facebook activities;

      c.     All “Stories” associated with either account;

      d.     All photos uploaded by those user ID’s and all photos uploaded by any

             user that have that user tagged in them;

      e.     All profile information; News Feed information; status updates; links to

             videos, photographs, articles, and other items; Notes; Wall postings;


                                           2



       Case 2:20-mj-00215-WED Filed 11/05/20 Page 30 of 33 Document 1
     friend lists, including the friends’ Facebook user identification numbers;

     groups and networks of which the either user ID is a member, including

     the groups’ Facebook group identification numbers; future and past event

     postings; rejected “Friend” requests; comments; gifts; pokes; tags; and

     information about the user’s access and use of Facebook applications;

f.   All other records of communications and messages made or received by

     either user ID, including all private messages, chat history, video calling

     history, and pending “Friend” requests;

g.   All “check ins” and other location information;

h.   All IP logs, including all records of the IP addresses that logged into either

     account;

i.   All records of either account’s usage of the “Like” feature, including all

     Facebook posts and all non-Facebook webpages and content that the user

     has “liked”;

j.   All information about the Facebook pages that either account is or was a

     “fan” of;

k.   All past and present lists of friends created by either account;

l.   All records of Facebook searches performed by either account;

m.   All information about either account’s access and use of Facebook

     Marketplace;

n.   The types of Facebook services utilized by the accounts;

                                    3



 Case 2:20-mj-00215-WED Filed 11/05/20 Page 31 of 33 Document 1
       o.      The length of service (including start date) and the means and source of

               any payments associated with the accounts Facebook usage (including

               any credit card or bank account number);

       p.      All privacy settings and other account settings, including privacy settings

               for individual Facebook posts and activities, and all records showing

               which Facebook users have been blocked by either account;

       q.      All records pertaining to communications between Facebook and any

               person regarding either account, including contacts with support services

               and records of actions taken.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 21, United States Code, Sections 331(a), 331(c),

331(k), 333(a)(1)/(2), 829(e), 841(a)(1), 841(h) and 843(c)(2)(A) for each user ID identified

on Attachment A, including information pertaining to the following matters:

            (a) The importation and distribution of controlled substances and other

               prescription medications.

            (b) Information relating to the identity of any and all individuals who operate

               or maintain online pharmacies that sell controlled substances and other

               prescription medications.

            (c) Evidence indicating how and when either Facebook account was accessed

               or used, to determine the chronological and geographic context of account


                                               4



        Case 2:20-mj-00215-WED Filed 11/05/20 Page 32 of 33 Document 1
     access, use, and events relating to the crimes under investigation and to

     the Facebook account owner;

  (d) Evidence indicating the state of mind of either account’s owner as it

     relates to the crimes under investigation;

  (e) The identity of the person(s) who created or used either account,

     including records that help reveal the whereabouts of such person(s).

  (f) The identity of the person(s) who communicated with either account

     about matters relating to relevant offense conduct of distribution of

     controlled   substances,   including   records   that   help   reveal   their

     whereabouts.




                                   5



Case 2:20-mj-00215-WED Filed 11/05/20 Page 33 of 33 Document 1
